              UNITED STATES DISTRICT COURT FOR THE
                   EASTERN DISTRICT OF TENNESSEE
                          AT GREENEVILLE



ALLEN MARK AJAN                              )
        Petitioner,                          )
                                             )
v.                                           )      NO. 2:02-CR-71
                                             )      (NO: 2:06-CV-24)
UNITED STATES OF AMERICA                     )      Judge Greer
         Respondent                          )


                          MEMORANDUM OPINION

        On January 30, 2006, Allen Mark Ajan (“Petitioner” or “Ajan”), a federal

prisoner, filed a “Petition Under 28 U.S.C. § 2255 To Vacate, Set Aside, Or Correct

Sentence By A Person In Federal Custody.” [Doc. 273]. Attached to the petition was

a letter in which petitioner sought additional time within which to file a memorandum

in support of his petition. [Doc. 273-1]. On March 3, 2006, Ajan filed a “Motion to

Amend § 2255 Pursuant To Rule 12 of Rules Governing § 2255 Cases And Fed. R.

Civ. P. 15(a)” and a 32 page memorandum in support of his original petition in which

he seeks an evidentiary hearing. [Doc. 277]        The United States responded in

opposition to the petition on October 17, 2007, [Doc. 310] and the petitioner filed a

“Motion to Supplement § 2255 Motion”, along with two supporting affidavits, on




     Case 2:02-cr-00071-JRG-CRW    Document 339      Filed 05/20/09   Page 1 of 46
                                   PageID #: 498
October 22, 2007. [Doc. 273].1 On February 6, 2008, Ajan filed a 54-page reply to

the government’s response [Doc. 324], and, on April 23, 2009, Ajan filed a second

motion to supplement his § 2255 petition, [Doc. 336]. The matter is now ripe for

disposition.

        The Court has determined that the files and records in the case conclusively

establish that the petitioner is not entitled to relief under § 2255 as to all issues raised

by him, except for the issue he raises pursuant to United States v. Combs, 369 F.3d

925 (6th Cir. 2004), on which the Court will receive further briefing as discussed

below. The record likewise establishes that no evidentiary hearing is necessary and

Ajan’s request for an evidentiary hearing will be DENIED; however, counsel will be

appointed to represent Ajan on the issue raised under Combs.

        This opinion and order will, therefore, dispose of all issues raised by Ajan save

the one raised pursuant to Combs and, for the reasons which follow, the petitioner’s

§ 2255 motion lacks merit and the motion will be denied in its entirety, except for the

single issue raised under Combs. In addition, Ajan’s April 23, 2009, motion to

supplement will be DENIED.

I.      Procedural Background

        Ajan was indicted by the federal grand jury on July 23, 2002, along with co-


        1
            This motion was granted by the Magistrate Judge on November 14, 2007. [Doc. 318].

                                                   2


     Case 2:02-cr-00071-JRG-CRW            Document 339         Filed 05/20/09      Page 2 of 46
                                           PageID #: 499
defendants George H. Simpson and John Vance Bowers. Ajan was charged in Count

One with conspiracy to distribute and possess with the intent to distribute 5 grams or

more of methamphetamine, in Count Two with conspiracy to distribute and possess

with the intent to distribute a quantity of methamphetamine (lesser included offense

of Count One), in Count Three with possession with the intent to distribute 5 grams

or more of methamphetamine, in Count Four with possession with the intent to

distribute a quantity of methamphetamine (a lesser included offense of Count Three),

in Count Six with distribution of a quantity of a mixture and substance containing a

detectable amount of methamphetamine, in Count Seven with brandishing a firearm

during and in relation to a drug trafficking offense, in Count Eight with conspiracy to

commit kidnapping, in Count Nine with aiding and abetting kidnapping and in Count

Ten with aiding and abetting possession of a firearm in furtherance of kidnapping, a

crime of violence. [Doc. 1]. On December 19, 2002, a jury found the defendant

guilty of Counts One, Three, Six, Seven, Nine and Ten and not guilty as to Count

Eight. [Doc. 157].

        On April 28, 2003, Ajan was sentenced to terms of imprisonment of 262

months, the bottom of the guidelines range,2 on the drug and kidnapping offenses, to

        2
           Because Ajan had a prior felony drug conviction and a prior robbery conviction, he was
determined to be a career offender under Chapter 4 of the United States Sentencing Guidelines. With an
offense level of 33 and a criminal history category of VI, the resulting guideline range was 262 to 327
months. Petitioner was subject to a consecutive mandatory minimum 384 months on the § 924(c)

                                                   3


   Case 2:02-cr-00071-JRG-CRW              Document 339          Filed 05/20/09       Page 3 of 46
                                           PageID #: 500
run concurrently, and a statutory mandatory consecutive 384 months on the § 924(c)

convictions (Counts Seven and Ten), for a total sentence of 646 months imprisonment.

[Doc. 220]. Ajan’s convictions and sentence were affirmed on direct appeal by the

Sixth Circuit Court of Appeals on December 15, 2004. United States v. Simpson, 116

F. App’x. 736 (6th Cir. 2004). Petitioner then filed a petition for writ of certiorari in

the United States Supreme Court, which the Court denied on January 24, 2005. Ajan

v. United States, 543 U.S. 1129 (2005). Petitioner’s pro se petition for rehearing was

denied by the Supreme Court on March 21, 2005. Ajan v. United States, 544 U.S. 945

(2005).

        Petitioner’s § 2255 petition was then timely filed on January 30, 2006.

        II.    Factual Background

        The following statement of facts is taken from the government’s brief:

                The trial evidence is summarized in part in the court of appeals’
        decision. See Simpson, 116 F. App’x at 738-39. The United States
        presented the testimony of twenty-two witnesses to establish petitioner’s
        guilt beyond a reasonable doubt. Eric Alford, an officer with the
        Kingsport, Tennessee, Police Department, testified that he stopped
        petitioner for suspected drunk driving on November 26, 2000 and, as a
        result, petitioner was arrested. (R. 184, Trial TR, Eric Alford at 2-18.) A
        search of petitioner’s vehicle incident to his arrest resulted in the seizure
        of a quantity of white powder in a cigarette pack, digital scales, and a
        box of baggies. Alford also found a cell phone in the vehicle and called
        the last number dialed, reaching co-defendant George Simpson. Without


convictions.

                                             4


   Case 2:02-cr-00071-JRG-CRW          Document 339      Filed 05/20/09    Page 4 of 46
                                       PageID #: 501
   identifying himself, Alford told Simpson that petitioner Ajan had passed
   out and needed help. Simpson responded that petitioner was his “boss”
   and told Alford to bring petitioner to the Coastal Mart on Bloomingdale
   where Simpson would meet him. Kingsport Officer Mike Hickman was
   dispatched to the market to meet Simpson. (Id.) See Simpson, 116 F.
   App’x at 738.

           The white powder found in petitioner’s car was analyzed by an
   employee with the Tennessee Bureau of Investigation Crime Laboratory,
   who testified that it was 22.2 grams of methamphetamine. (R. 207, Trial
   TR, Jacob White at 38-41.) DEA Special Agent Mike Steadman testified
   that, in his opinion, a person simultaneously possessing 22.2 grams of
   methamphetamine, plastic baggies, and digital scales would be engaged
   in the distribution of methamphetamine. On cross-examination,
   Steadman calculated that twenty-two grams of 22% pure
   methamphetamine would produce 800 dosage units. (R. 163, Trial TR,
   George Michael Steadman at 2-9.)

         Returning to the events of November 26, 2000, Officer Hickman
   responded to the Coastal Mart at around 10:00 p.m. to meet Simpson. (R.
   184, Trial TR, Mike Hickman at 24-30.) In due course, Hickman
   observed two men wearing camouflage coveralls and bullet proof vests
   and carrying binoculars and two-way radios. Hickman engaged them in
   conversation, asked for identification, and one man identified himself as
   George Simpson. Hickman asked the two men for permission to pat them
   down, to which they consented. Hickman retrieved a loaded .38 revolver
   from Simpson. (Id. at 24-30.) See Simpson, 116 F. App’x at 738.

          Two weeks later, on December 8, 2000, Curtis McDavid, Earnest
   Lynn White, and Ricky Howe met at the Hog Wild Saloon, a bar across
   the street from the West Side Motel in Kingsport, Tennessee, where
   White had rented a room for the night. After the bar closed, the three
   men went to White’s motel room to drink a few beers. At about 2:30
   a.m., McDavid and Howe left to wait for a taxi, but when it did not come
   they returned to the room, entering through the sliding glass door. (R.
   184, Trial TR, Curtis McDavid at 74-78, 87, 91-92; R. 185, Trial TR,
   Earnest White at 2-12; Ricky Howe at 71-75.) See Simpson, 116 F.
   App’x at 738.

                                      5


Case 2:02-cr-00071-JRG-CRW      Document 339      Filed 05/20/09   Page 5 of 46
                                PageID #: 502
          During McDavid and Howe’s absence, petitioner and
   co-defendants Simpson and Bowers had entered White’s motel room.
   When they initially entered the room, petitioner, dressed in black and
   wearing black gloves, struck White on the head with a walkie-talkie.
   Petitioner displayed a pistol and demanded $150 from White in payment
   for a drug debt involving an eightball of methamphetamine. See
   Simpson, 116 F. App’x at 738.

          At trial, White explained the facts underlying the
   methamphetamine debt that he owed petitioner. (R. 185, Trial TR, White
   at 2-8, 39, 59.) Vance Bowers had introduced White to petitioner and for
   about three weeks both White and Bowers worked for petitioner in his
   excavation business, which petitioner operated from his home. There was
   not much excavation work being done and there were a lot of people who
   came to petitioner’s business who were not excavation customers.
   Petitioner owed White about $150.00 for three days of work at the
   excavation business. White testified that three or four days prior to
   December 9, 2000, petitioner gave White an eight-ball of crystal meth as
   payment for the hours that White had worked. (Id.) However, Officer
   Melanie Church, the Kingsport Police Officer who interviewed White
   the morning after his kidnaping, testified that White told her that he had
   gone to petitioner on December 4, 2000, to get drugs for a friend and that
   he had been fronted the drugs and would owe petitioner $180 later. (R.
   184, Trial TR, Melanie Church at 54.)

          When McDavid and Howe reentered White’s motel room and
   encountered petitioner, Bowers, and Simpson, they initially assumed
   they were in the wrong room. Petitioner ordered them to stay and
   directed Simpson to display the Tec 9 handgun he was carrying and to
   place a chair against the door to the hallway so that no one could leave.
   Petitioner instructed McDavid, Howe, and White at gunpoint to empty
   their pockets and he robbed them of their cash. See Simpson, 116 F.
   App’x at 738.

          Unsatisfied with the amount of cash from the three victims,
   petitioner forced White to place a telephone call to his mother, Loretta
   Wogomon, and ask her for $300. Ms. Wogomon thought White was
   joking until petitioner grabbed the telephone receiver from White and

                                       6


Case 2:02-cr-00071-JRG-CRW      Document 339      Filed 05/20/09    Page 6 of 46
                                PageID #: 503
   said to Ms. Wogomon, “Ma’am, this is not a joke. . . . You better bring
   me $300 or I’m going to blow your son’s mother f–king head off.” (R.
   184, Trial TR, McDavid at 74-78, 87, 91-92; R. 185, Trial TR, White at
   2-12; Howe at 71-74; R. 208, Trial TR, Loretta Wogomon at 2-9.) See
   Simpson, 116 F. App’x at 738-39.

           After the phone call, petitioner and co-defendants Simpson and
   Bowers forced the three victims out of the motel room and into a car to
   travel to meet White’s mother. Simpson followed in another vehicle, a
   Chevy Cavalier, and communicated with petitioner using two-way
   radios. The victims were told that Simpson was following them and that
   if they made a move they would be shot. The victims were further told
   that if White’s mother did not bring the money then they were going to
   be killed. (R. 184, Trial TR, McDavid at 78-79; R. 185, Trial TR, White
   at 12-15, 65; Howe at 75-78). Ms. Wogomon had called the police and
   did not go to the meeting place. See Simpson, 116 F. App’x at 739.

           When they were unable to find Wogomon, petitioner, Bowers and
   the victims, followed by Simpson, stopped at a Coastal market. As
   petitioner got out of the car, he gave the handgun to Bowers and “told
   Vance to tell them that if they move, shoot the son of a bitches.”
   Petitioner returned with chips and something to drink. At petitioner’s
   direction, White made another telephone call to his mother but was
   unable to reach her. They left the market and drove back to the West
   Side Motel where they saw several police cars in the parking lot.
   Petitioner started screaming and told the victims, “She f-cked up now .
   . . . You’re a dead mother f-cker,” and drove towards Virginia. As they
   entered Virginia, Bowers commented to petitioner that they were now
   involved in a federal offense. They stopped at a Texaco Market in
   Virginia and White tried unsuccessfully to again contact his mother.
   Simpson pulled in behind petitioner’s vehicle and petitioner went over
   to the Cavalier and talked with him. While petitioner was out of the car,
   Bowers remained in the car with the gun, guarding White, McDavid, and
   Howe. Howe testified that he did not try to escape because Bowers had
   the gun. (R. 184, Trial TR, McDavid at 79-80; R. 185, Trial TR, White
   at 15-17, 47-48, 65; Howe at TR 75-79, 87-88, 95-96). See Simpson, 116
   F. App’x at 739.


                                      7


Case 2:02-cr-00071-JRG-CRW      Document 339      Filed 05/20/09   Page 7 of 46
                                PageID #: 504
          Petitioner drove the victims to Yuma, Virginia, and pulled over
   into a secluded area. Simpson parked behind petitioner’s vehicle in his
   red Cavalier. The victims were ordered out of the car and somebody
   stuck a gun to McDavid’s head and ordered him to beat up White or
   McDavid would be killed. White and McDavid began to fight, as
   commanded, and during the commotion someone said, “Run!” White and
   Howe ran in one direction and McDavid in the other, moving up river.
   White and Howe caught up with McDavid a bit later, and White told
   McDavid that White had gone to a house to call for help and that a
   resident had called the police for them. While they were waiting for the
   police to arrive, petitioner and Bowers drove by and yelled at them,
   asking if they had called the police yet and yelling that they were
   “screwed.” The police arrived and took the victims back to Tennessee
   where they were met by a Kingsport Police Officer. (R. 184, Trial TR,
   McDavid at 80-84; R. 185, Trial TR, White at 12-22, 32; Howe at 71-80,
   87-88.) See Simpson, 116 F. App’x at 739.

         At trial, during McDavid’s cross-examination, defendants
   suggested that McDavid had been having a good time in White’s motel
   room the night of the kidnaping and that McDavid willingly went
   toVirginia so that he could continue partying. McDavid rejected that
   version of events, stating,

         Look here, brother, when you got a gun stuck to your head,
         you ain’t doing much thinking about anything but your
         family and your life, whether you were going to live or you
         weren’t going to live. I don’t know if they thought this was
         a joke, but I didn’t think it was a joke; but over $300, it
         ain’t worth nobody losing their life.

   Defendants suggested that McDavid had said in another setting that he
   did not consider himself as having been kidnaped. McDavid replied,
   “Well, you got a gun pointed on you and you’re made to get in the car,
   so what do you call it?” (R. 184, Trial TR, McDavid at 92-101.)

        Harold Blanton of Scott County, Virginia, testified that White had
   knocked on his door on December 9, 2000. When he answered the door,
   White said that he needed to use the phone because someone was after

                                      8


Case 2:02-cr-00071-JRG-CRW      Document 339     Filed 05/20/09    Page 8 of 46
                                PageID #: 505
   him, that they had gotten away, but that one of their friends was still
   being held. At that point another man (Howe), wearing a short sleeve
   shirt, came around the corner and told White that they needed to be
   moving before “they caught back up to them.” White was desperate to
   use the phone, but he and Howe left. Blanton went back inside and called
   the police. (R. 207, Trial TR, Harold Blanton at 15-22.)

          Phillip Lane, Scott County, Virginia, Sheriff’s Department,
   responded to Blanton’s call and came to Blanton’s residence, where
   Blanton pointed to three men who were nearby on the road. Lane drove
   up the road and met the victims as they were crossing the road. The men
   said that they had been kidnaped in Kingsport, Tennessee. Lane
   transported White, McDavid, and Howe to Tennessee. (R. 207, Trial TR,
   Phillip Lane at 29-33.)

          Kingsport Police Officer Melanie Church met Lane at the state
   line on December 9, 2000 and the victims were transferred into her
   custody. Church testified that the victims told her that they had been
   taken to Virginia at gunpoint by petitioner, Simpson, and Bowers and
   that Simpson had used a .9 millimeter during the ordeal. On
   cross-examination, Church stated that White, McDavid, and Howe had
   told her the defendants had robbed them of $400, that White had
   obtained drugs for a friend on December 4, 2000, and that White had
   been fronted $180 worth of methamphetamine by petitioner. (R. 184,
   Trial TR, Church at 44-47, 52-54.)

           As part of the investigation, Simpson’s residence on Shipp Springs
   Road in Kingsport was searched pursuant to a warrant on December 9,
   2000. Detective Frank Lipoma, Sullivan County Sheriff’s Department,
   testified that officers seized guns from the vehicles parked outside the
   house and additional guns, two-way radios, and a bullet proof vest from
   inside the residence. (R. 208, Trial TR, Frank Lipoma at 36-44.)

          Testimony was presented at trial concerning a recorded telephone
   call placed on December 7, 2002, by co-defendant Simpson to White
   while Simpson was incarcerated. As the Court is aware, all telephone
   calls made from the jail are recorded and the inmates are advised that
   their calls are being recorded. FBI Agent Rainer Drolshagen testified and

                                       9


Case 2:02-cr-00071-JRG-CRW      Document 339      Filed 05/20/09    Page 9 of 46
                                PageID #: 506
   explained how he retrieved Simpson’s call to White from the jail
   computer system. Defendants objected to admission of the tape recording
   on grounds Drolshagen’s testimony was insufficient to establish a proper
   foundation. The Court overruled the objection and the recording of the
   telephone call was played for the jury. (R. 208, Trial TR, Rainer
   Drolshagen at 54-65.)

           On the tape, Simpson is heard talking to White. Simpson
   encourages White to avoid being served with a trial subpoena, advising
   White to hide for about ten days. Simpson tells White that if the victims
   do not appear for trial, the kidnaping charge will be dropped. (Id.) Prior
   to trial, pursuant to a ruling on petitioner’s motion in limine, portions of
   the conversation were redacted to omit statements by Simpson that “Alan
   [Ajan] was the main one” and statements that made references to drugs.
   (R. 144, Magistrate’s Pretrial Order.)

          Following Drolshagen’s testimony, the United States rested.
   Petitioner presented one witness, Officer Frank Light of the Sullivan
   County Sheriff’s Department. (R. 208, Trial TR, Frank Light, TR 96-97.)
   Light was called after a juror reported that she had had a conversation
   with a third party, Estalita Keller, who is petitioner’s ex-mother-in-law.
   As explained in the Court’s Order of March 25, 2003, after the
   conversation occurred between Keller and the juror, the Court
   interviewed the juror and determined that the conversation was
   completely innocuous. (R. 198, Order.) Light testified that he knew
   Keller and that “[a]pparently there’s some type of dislike between”
   petitioner and Keller. (R. 208, Trial TR, Light, TR 96-97.) This
   testimony was presented to explain to the jury the basis for any possible
   negative impression Keller may have created regarding petitioner. After
   Light’s very brief testimony, petitioner rested, as did codefendant
   Simpson. (Id., TR 97.)

          Co-defendant Bowers presented testimony by an investigator with
   Federal Defender Services that victim Curtis McDavid had stated during
   an interview that he did not feel that he, White, and Howe had been
   kidnaped. (Id., Charles Brown at 100-01.) David Quillen with the
   Kingsport Police Department testified that he had examined the motel
   room where White was staying on the night in question and that there

                                       10


Case 2:02-cr-00071-JRG-CRW       Document 339      Filed 05/20/09    Page 10 of 46
                                 PageID #: 507
       was no evidence of any violent struggle. (Id., David Quillen at 114-16.)
       Finally, Bobby Purkey testified that he had conversations with victim
       White and that the gist of the conversation was that the kidnaping did not
       happen. (Id., Bobby Purkey at 132-33.) After Purkey testified,
       co-defendant Bowers rested. (Id., TR 137.) The United States presented
       no witnesses in rebuttal. (Id.)

[Doc. 310, at 2-10]

       III.   Standard of Review

       This Court must vacate and set aside petitioner’s sentence if it finds that “the

judgment was rendered without jurisdiction, or that the sentence imposed was not

authorized by law or otherwise open to collateral attack, or that there has been such

a denial or infringement of the constitutional rights of the prisoner as to render the

judgment vulnerable to collateral attack, . . .” 28 U.S.C. § 2255. Under Rule 4 of the

Governing Rules, the Court is to consider initially whether the face of the motion

itself, together with the annexed exhibits and prior proceedings in the case, reveal the

movant is not entitled to relief. If it plainly appears the movant is not entitled to relief,

the court may summarily dismiss the § 2255 motion under Rule 4.

       When a defendant files a § 2255 motion, he must set forth facts which entitle

him to relief. Green v. Wingo, 454 F.2d 52, 53 (6th Cir. 1972); O’Malley v. United

States, 285 F.2d 733, 735 (6th Cir. 1961). “Conclusions, not substantiated by

allegations of fact with some probability of verity, are not sufficient to warrant a

hearing.” O’Malley, 285 F.2d at 735 (citations omitted). A motion that merely states
                                             11


  Case 2:02-cr-00071-JRG-CRW          Document 339       Filed 05/20/09    Page 11 of 46
                                      PageID #: 508
general conclusions of law without substantiating allegations with facts is without

legal merit. Loum v. Underwood, 262 F.2d 866, 867 (6th Cir. 1959); United States v.

Johnson, 940 F. Supp. 167, 171 (W.D. Tenn. 1996).

      To warrant relief under 28 U.S.C. § 2255 because of constitutional error, the

error must be one of constitutional magnitude which had a substantial and injurious

effect or influence on the proceedings. Brecht v. Abrahamson, 507 U.S. 619, 637

(1993) (citation omitted) (§ 2254 case); Clemmons v. Sowders, 34 F. 3d 352, 354 (6th

Cir. 1994). See also United States v. Cappas, 29 F.3d 1187, 1193 (7th Cir. 1994)

(applying Brecht to a § 2255 motion). If the sentencing court lacked jurisdiction, then

the conviction is void and must be set aside. Williams v. United States, 582 F. 2d

1039, 1041 (6th Cir.), cert. denied, 439 U.S. 988 (1978). To warrant relief for a non-

constitutional error, petitioner must show a fundamental defect in the proceeding that

resulted in a complete miscarriage of justice or an egregious error inconsistent with

the rudimentary demands of fair procedure. Reed v. Farley, 512 U.S. 339, 354 (1994);

Grant v. United States, 72 F. 3d 503, 506 (6th Cir.), cert. denied, 517 U.S. 1200

(1996). In order to obtain collateral relief under § 2255, a petitioner must clear a

significantly higher hurdle than would exist on direct appeal. United States v. Frady,

456 U.S. 152 (1982).

      The Sixth Amendment provides, in pertinent part, “[i]n all criminal


                                          12


  Case 2:02-cr-00071-JRG-CRW        Document 339     Filed 05/20/09    Page 12 of 46
                                    PageID #: 509
prosecutions, the accused shall enjoy the right . . . to have the Assistance of Counsel

for his defense.” U.S. Const. amend. VI. A defendant has a Sixth Amendment right

not just to counsel, but to “reasonably effective assistance” of counsel. Strickland v.

Washington, 466 U.S. 668, 687 (1984). In Strickland, the Supreme Court set forth a

two-pronged test for evaluating claims of ineffective assistance of counsel:

             First, the defendant must show that counsel’s performance
             was deficient. This requires showing that counsel made
             errors so serious that counsel was not functioning as the
             “counsel” guaranteed the defendant by the Sixth
             Amendment. Second, the defendant must show that the
             deficient performance prejudiced the defense. This requires
             showing that counsel’s errors were so serious as to deprive
             the defendant of a fair trial, a trial whose result is reliable.
             Unless a defendant makes both showings, it cannot be said
             that the conviction . . . resulted from a breakdown in the
             adversary process that renders the result unreliable.

Strickland 466 U.S. at 687. As with any other claim under § 2255, the burden of

proving ineffective assistance of counsel is on the petitioner. Virgin Islands v.

Nicholas, 759 F. 2d 1073, 1081 (3d Cir. 1985).

      In considering the first prong of the test set forth in Strickland, the appropriate

measure of attorney performance is “reasonableness under prevailing professional

norms.” Strickland, 466 U.S. at 688. A defendant asserting a claim of ineffective

assistance of counsel must “identify the acts or omissions of counsel that are alleged

not to have been the result of reasonable professional judgment.” Id. at 690. The


                                           13


  Case 2:02-cr-00071-JRG-CRW         Document 339      Filed 05/20/09     Page 13 of 46
                                     PageID #: 510
evaluation of the objective reasonableness of counsel’s performance must be made

“from counsel’s perspective at the time of the alleged error and in light of all the

circumstances, and the standard of review is highly deferential.” Kimmelman v.

Morrison, 477 U.S. 365, 381 (1986).

       The second prong of the Strickland test requires the petitioner show counsel’s

deficient performance prejudiced the defense. Thus, “[a]n error by counsel, even if

professionally unreasonable, does not warrant setting aside the judgment of a criminal

proceeding if the error had no effect on the judgment.” Strickland, 466 U.S. at 691.

The petitioner must show “there is a reasonable probability that, but for counsel’s

unprofessional errors, the result of the proceeding would have been different.” Id. at

694. The Strickland Court emphasized that both prongs must be established in order

to meet the claimant’s burden, and if either prong is not satisfied the claim must be

rejected, stating:

              Although we have discussed the performance component of
              an ineffectiveness claim prior to the prejudice component,
              there is no reason for a court deciding an ineffective
              assistance claim to approach the inquiry in the same order
              or even to address both components of the inquiry if the
              defendant makes an insufficient showing on one . . . . If it
              is easier to dispose of an ineffectiveness claim on the
              ground of lack of sufficient prejudice, which we expect will
              often be so, that course should be followed. Courts should
              strive to ensure that ineffectiveness claims not become so
              burdensome to defense counsel that the entire criminal
              justice system suffers as a result.

                                          14


  Case 2:02-cr-00071-JRG-CRW        Document 339      Filed 05/20/09   Page 14 of 46
                                    PageID #: 511
Id. at 697.

      IV.     Analysis and Discussion

      A.   Issue I – Ineffective Assistance of Counsel (IAC)-Search of
      Defendant’s Car

      Ajan was stopped by Kingsport Police Officer Eric Alford (“Alford”) on

November 26, 2000, for suspected drunk driving and was subsequently arrested. A

search of his vehicle incident to arrest resulted in the seizure of a quantity of white

powder in a cigarette pack, digital scales and a box of baggies. The white powder was

determined by the Tennessee Bureau of Investigation crime laboratory to be 22.2

grams of methamphetamine. Alford also found a cell phone in the vehicle. Alford

dialed the last number dialed on the cell phone, reaching co-defendant George

Simpson. Without identifying himself, Alford told Simpson that Ajan had passed out

and needed help. Simpson told Alford that Ajan was his “boss” and asked him to

bring Ajan to the Coastal Mart on Bloomingdale where he would meet them.

      The petitioner claims his attorney failed to “properly present [his] Fourth

Amendment claims.” [Doc. 277 at 5]. Characterizing the search of his car as an

“inventory search,” Ajan claims that his attorney failed to challenge the search as

being in violation of “interdepartmental policy” and was simply a “pretext for

gathering evidence.” [Id. at 5-6]. He also claims that Alford’s seizure and use of the


                                          15


  Case 2:02-cr-00071-JRG-CRW        Document 339     Filed 05/20/09   Page 15 of 46
                                    PageID #: 512
cell phone was illegal.

        Petitioner’s claim lacks merit. His trial counsel filed a motion to suppress, the

Magistrate Judge held an evidentiary hearing and filed a Report and Recommendation

(“R&R”) finding no Fourth Amendment violation, and petitioner’s attorney timely

objected to the R&R. The District Judge overruled the objection and held that there

was no Fourth Amendment violation. Ajan did not raise this issue on direct appeal.

        Petitioner cannot show deficient performance by counsel as to this issue.

Ajan’s argument that the November 26 search was an inventory search which was not

conducted according to any established police procedures is completely irrelevant.

Notwithstanding Alford’s testimony that he “did an inventory of that vehicle,” the

record establishes that Ajan was properly arrested for drunk driving and that a search

of his person revealed two or three bags of pills. When the occupant of a vehicle is

lawfully arrested, as Ajan was, the passenger compartment of the vehicle and any

containers therein may be searched without a warrant or further showing of probable

cause. New York v. Belton, 453 U.S. 454 (1981); United States v. Riascos-Suarez, 73

F.3d 616, 625 (6th Cir.), cert. denied, 519 U.S. 848 (1996).3 Even if the vehicle search

were not permitted incident to Ajan’s arrest, the discovery of pills on his person


        3
           The Supreme Court’s recent decision in Arizona v. Gant, U.S. 556 U.S. ___, 129 S. Ct. 1710
(2009), calls into question the continued viability of New York v. Belton; however, Officer Alford had
probable cause to search the car for contraband.

                                                  16


  Case 2:02-cr-00071-JRG-CRW               Document 339         Filed 05/20/09       Page 16 of 46
                                           PageID #: 513
provided probable cause to search the car for contraband. Whether or not the

occupant of a vehicle is arrested, warrantless searches of vehicles are permitted if

there is probable cause to believe the vehicle contains evidence of a crime and

“exigent circumstances” exist. Chambers v. Maroney, 399 U.S. 42, 52 (1970);

Carroll v. United States, 267 U.S. 132 (1925).

      This vehicle “exception” is applicable even in non-exigent circumstances as

long as the vehicle is mobile and law enforcement officers have probable cause to

believe that it contains incriminating evidence. Maryland v. Dyson, 527 U.S. 465,

466-67 (1999); United States v. Cope, 312 F.3d 757 (6th Cir. 2002). “Where police

have probable cause to believe that a vehicle contains contraband, they may search the

entire vehicle and any contents located within it.” United States v. Mans, 999 F.2d

966, 968 (6th Cir.) , cert, denied, 510 U.S. 999 (1993) (marijuana found on driver and

cash found under the front seat gave officers probable cause to believe car contained

contraband).

      It is quite clear that Alford’s post-arrest seizure of Ajan’s cell phone from his

vehicle was also lawful since the seizure resulted from a valid search. Ajan argues,

however, that Alford’s use of the cell phone was illegal. The Fifth Circuit considered

that very question and rejected Ajan’s argument in United States v. Finlee, 477 F.3d

250 (5th Cir.), cert. denied, 127 S. Ct. 2065 (2007). In Finlee, the Fifth Circuit held


                                          17


  Case 2:02-cr-00071-JRG-CRW        Document 339     Filed 05/20/09    Page 17 of 46
                                    PageID #: 514
that since the cell phone was properly seized, the police were “permitted to search

[the] cell phone pursuant to [the] arrest.” 477 F.3d at 260. See also United States v.

Ortiz, 84 F.3d 977, 984 (7th Cir. 1996) (upholding retrieval of information from pager

as search incident to arrest). There was no deficiency in counsel’s performance

related to the cell phone and this issue, likewise, lacks merit.

      B.     Issue I(a)-IAC-Failure to Object to Recorded Detention Center
             Telephone Call

      Petitioner next asserts that his trial counsel was ineffective for not objecting to

the introduction of a recording of a telephone call placed on December 7, 2002, by co-

defendant Simpson to Earnest Lynn White, the victim of the kidnaping, while

Simpson was incarcerated at the Washington County Detention Center (“WCDC”).

All inmate calls from the WCDC are monitored and recorded by the jail computer

system. Inmates are advised prior to each call that the call will be recorded.

      Prior to trial, Ajan’s counsel filed a motion in limine in regard to the recording

pursuant to Bruton v. United States, 391 U.S. 123 (1968). On the recording, Simpson

encouraged White to avoid a government trial subpoena and told him the kidnapping

charge would be dismissed if the victims did not appear for trial. As a result of

petitioner’s motion in limine, portions of the recording which referred to Ajan were

ordered redacted and were not heard by the jury. Ajan now asserts, however, that the

recording of inmate telephone calls at the WCDC violates the Electronic

                                           18


  Case 2:02-cr-00071-JRG-CRW        Document 339      Filed 05/20/09    Page 18 of 46
                                    PageID #: 515
Communications Privacy Act (“ECPA”) (codified as amended in scattered sections

of 18 U.S.C.), and that his attorney’s failure to object to its introduction on this ground

constituted ineffective assistance of counsel.

      Ajan’s position lacks merit for several reasons. First of all, the ECPA is

expressly limited to electronic communications as to which a person has an

expectation of privacy. See ACLU v. NSA, 493 F.3d 644 (6th Cir. 2007). It cannot

reasonably be argued that an inmate has any expectation of privacy in a jailhouse

phone call where the inmate is expressly warned that the call is subject to monitoring

and recording. Secondly, “there is no exclusionary rule generally applicable to

statutory violations.” United States v. Abdi, 463 F.3d 547, 556 (6th Cir. 2006). The

Sixth Circuit has specifically held that a violation of the ECPA does not warrant

suppression of evidence. See United States v. Meriweather, 917 F.2d 955, 960 (6th

Cir. 1990) (holding that the act “does not provide an independent statutory remedy of

suppression for interception of electronic communications.”) Therefore, it was not

deficient performance for Ajan’s trial counsel not to object to the introduction of the

recording at the WCDC on the basis of the ECPA.

      Furthermore, even if petitioner could meet the first prong of the Strickland test

and establish deficient performance on the part of counsel, he cannot establish (and,

in fact, does not argue that he can establish) any prejudice from the introduction of the


                                            19


  Case 2:02-cr-00071-JRG-CRW         Document 339       Filed 05/20/09    Page 19 of 46
                                     PageID #: 516
recording. The trial court granted Ajan’s motion in limine and all references to Ajan

were deleted from the recording and were not heard by the jury.

      C.     Issue II-IAC-Fabricated Facts/Evidence

      Petitioner argues that counsel was ineffective in failing to argue that a Franks

hearing was required because of what he refers to as “fabricated facts/evidence” and

contradictions in the testimony of several of the officers who testified in the case.

Petitioner retreats somewhat from his initial position in his reply to the government’s

response to his petition. Acknowledging that the initial claim “was drafted by another

inmate,” Ajan expresses uncertainty “if his argument (i.e. for a Franks hearing) was

the only course of action my trial counsel Slaughter was obligated to take . . .” [Doc.

15 at 2-3]. The rambling nature of petitioner’s pleadings makes it very difficult to

ascertain the precise issue being raised here, except that it is clear that petitioner

accuses the law enforcement officers involved in the case of making false statements

in their affidavits offered in support of their requests for search warrants and of giving

perjured testimony at trial.

      In order to be entitled to a hearing pursuant to Franks v. Delaware, 438 U.S.

154 (1978), commonly referred to as a Franks hearing, a defendant must make a “dual

showing . . . which incorporates both a subjective and an objective threshold

component.” Id. at 155-56. First, the defendant “must make a substantial preliminary


                                           20


  Case 2:02-cr-00071-JRG-CRW         Document 339      Filed 05/20/09    Page 20 of 46
                                     PageID #: 517
showing that a false statement knowingly and intentionally, or with reckless disregard

for the truth, was included by the affiant in the warrant affidavit.” Id. Second, the

offending information must be essential to the probable cause determination; if the

offending information is excluded and probable cause still remains, a Franks hearing

is not required. Id. A district court must uphold a search warrant if sufficient

untainted evidence establishes probable cause. United States v. Campbell, 878 F.2d

170, 172 (6th Cir.), cert. denied, 493 U.S. 894 (1989).

      Ajan specifically points to the affidavit of Officer Glen Cradic (“Cradic”),

which was submitted on December 9, 2000, in support of a search warrant for the

residence of co-defendant Simpson. Ajan spends many pages of his memorandum

discussing perceived false statements of Officer Cradic in the affidavit. Ajan further

complains that Cradic’s affidavit contains “facts” provided by third parties in violation

of Crawford v. Washington, 124 S.Ct. 1354 (2004).

      Petitioner’s arguments about alleged falsehoods in the Cradic affidavit are

completely immaterial. The Cradic affidavit was offered in support of a request for

a search warrant to search the residence of co-defendant Simpson. Petitioner Ajan has

absolutely no standing to contest the legality of the search of Simpson’s residence.

To have standing to challenge the legality of a search under the Fourth Amendment,

a defendant must have “a reasonable expectation of privacy” in the place to be


                                           21


  Case 2:02-cr-00071-JRG-CRW         Document 339      Filed 05/20/09   Page 21 of 46
                                     PageID #: 518
searched. Rakas v. Illinois, 439 U.S. 128, 143 (1978). Ajan had no reasonable

expectation of privacy in Simpson’s residence and thus lacks any standing to

challenge the legality of the search. As a result, Ajan would not have been entitled to

a Franks hearing even if he could have shown false statements in the Cradic affidavit

and counsel was not deficient in failing to seek such a hearing.

      One other issue needs to be briefly addressed. Ajan argues in his reply brief

that the affidavit of Cradic “was incorperated (sic) in Depew’s search warrant for

Ajan’s home,” giving him the required standing to contest the legality of the search.

A review of Officer Depew’s affidavit in support of a search warrant for Ajan’s

residence at 1747 Goshen Valley Road, Church Hill, Tennessee, establishes that the

affidavit makes no reference to the Cradic affidavit. Petitioner’s argument is wholly

without merit.

      Petitioner makes the further argument that the affidavit of complaint filed by

Officer   Hickman     upon    Ajan’s    arrest   for    DUI    contained    “numerous

misrepresentations,” that Officer Alford’s affidavit of complaint filed in connection

with the arrest of George Simpson on November 27, 2000, contained

“misrepresentations,” and that Officer Hickman and Officer Melanie Church both

committed perjury at trial. He argues that this “fabricated facts/evidence became an

integral part of the federal prosecution. In particular but not limited to; pretrial


                                          22


  Case 2:02-cr-00071-JRG-CRW        Document 339       Filed 05/20/09   Page 22 of 46
                                    PageID #: 519
motions filed by all defense counsel, governments responses to motions, open court

colloquy at PTC/motion hearing, Magistrates report and recommendation, and Judges

orders.” [Doc. 15 at 7].

       Other than to make conclusory statements about counsel’s failure to contest

these “fabricated facts,” petitioner makes no effort to explain what exactly counsel

could , or should, have done differently or how he was prejudiced by counsel’s alleged

failure.    Such conclusory allegations are insufficient in a § 2255 proceeding.

Furthermore, to the extent petitioner is arguing that the evidence against him at trial

was insufficient to sustain a conviction, that argument may not be raised in a § 2255

proceeding. See Scott v. Morrison, 58 F. App’x. 602 (6th Cir. 2002) (claim concerning

insufficiency of the evidence is not generally cognizable in a habeas proceeding). As

the government correctly points out in its response, petitioner was convicted by a jury

after consideration of the trial evidence, petitioner confronted all witnesses against

him and his claim lacks either factual or legal basis.

       D.     Issue III-IAC-Chain of Custody

       Petitioner argues that his trial counsel was ineffective when he failed to object

to the “chain of custody” in relation to methamphetamine that was in Ajan’s

possession. Ajan points to testimony of forensic scientist Jacob White and forensic

chemistry reports which were introduced at trial. Petitioner makes no claim that the


                                           23


  Case 2:02-cr-00071-JRG-CRW        Document 339      Filed 05/20/09   Page 23 of 46
                                    PageID #: 520
officers tampered with or altered the evidence.

      Federal Rule of Evidence 901 provides that: “Authentication or identification

as a condition precedent to admissibility is satisfied by evidence sufficient to support

a finding that the matter in question is what its proponent claims.” Fed. R. Evid. 901

Physical evidence is admissible when the possibilities of alteration or

misidentification “are eliminated, not absolutely, but as a reasonable probability.”

United States v. McFadden, 458 F.2d 440, 441 (6th Cir. 1972). Where no evidence

exists to indicate that tampering with an exhibit occurred, the court presumes public

officers have properly discharged their duties. United States v. Allen, 106 F.3d 695,

700 (6th Cir.), cert. denied, 520 U.S. 1281 (1997) (merely raising the possibility that

someone tampered with evidence is insufficient to render evidence inadmissible).

“[C]hallenges to the chain of custody go to the weight of the evidence, not its

admissibility.” United States v. Levy, 904 F.2d 1026, 1030 (6th Cir. 1990).

      This claim lacks merit as well.          The record establishes, and petitioner

acknowledges, that his counsel cross examined the government witnesses on the issue

and he makes no claim that the evidence was tampered with, raising at most a claim

of the mere possibility of tampering. Counsel’s performance was in no way deficient

and absent evidence of tampering, no basis existed for counsel to object to the

admissibility of the methamphetamine. Even were it shown that counsel should have


                                          24


  Case 2:02-cr-00071-JRG-CRW        Document 339      Filed 05/20/09   Page 24 of 46
                                    PageID #: 521
objected, petitioner suffered no prejudice since the evidence was clearly admissible,

and any deficiency in the claim of custody went to the weight of evidence only.

      E.     Issue IV-IAC-Multiplicious Counts

      Petitioner next alleges that trial counsel was ineffective for failing to raise the

“multiciplicity (sic) of Counts 1, 2, 3 and 4 of the indictment in the case.” Counts One

and Two of the indictment charge Ajan and others with a conspiracy to distribute and

to possess with the intent to distribute five grams or more of methamphetamine (Count

One) and conspiracy to distribute and to possess with the intent to distribute a quantity

of less than five grams of methamphetamine (Count Two). Counts Three and Four

each charge possession with intent to distribute methamphetamine (five grams or

more-Count Three/a quantity less than five grams-Count Four). The jury was

instructed by the Court to consider Counts Two and Four only if they found the

defendant not guilty of the charges in Counts One and Three. The jury convicted Ajan

on Counts One and Three.

      An indictment is multiplicious if it charges a single offense in more than one

count. United States v. Stevens, 118 F.3d 479 (6th Cir. 1997). A multiple count

indictment, however, based on the same underlying conduct, is not multiplicious as

long as each count requires proof of an element not required by the other. United

States v. Kelly, 204 F.3d 652, 656 (6th Cir.), cert. denied, 530 U.S. 1268 (2000).


                                           25


  Case 2:02-cr-00071-JRG-CRW         Document 339      Filed 05/20/09   Page 25 of 46
                                     PageID #: 522
      Counts Two and Four of the indictment in this case simply charge lesser

included offenses of Counts One and Three. As the Sixth Circuit noted on direct

appeal, since Ajan was convicted of Counts One and Three, Counts Two and Four

were irrelevant. Simpson, 116 F.3d at 739. Since Counts One and Two required proof

of a different element (i.e. quantity) and Counts Three and Four likewise required

proof of a different element (again, quantity) and since Counts Two and Four were

charged as alternatives to Counts One and Three, these counts were not multiplicious.

Furthermore, even if Counts Two and Four had not been set out as separate counts in

the indictment, a lesser included offense instruction would have been given to the jury

for Counts One and Three.

      Even if Counts Two and Four were multiplicious as to Counts One and Three,

Ajan suffered absolutely no prejudice since he was convicted only of Counts One and

Three. Not only that, even if the jury had returned verdicts of guilty on all four

counts, an option they were not given, the remedy would have been to merge the

convictions for sentencing purposes. See United States v. Throneburg, 921 F.2d 654,

657 (6th Cir. 1990). This issue lacks merit.

      F.     Issue V-IAC-Petitioner’s Failure to Testify

      Petitioner alleges that he received constitutionally deficient counsel “when

counsel failed to allow petitioner to testify on his behalf.” [Doc. 2 at 23]. The


                                          26


  Case 2:02-cr-00071-JRG-CRW        Document 339     Filed 05/20/09   Page 26 of 46
                                    PageID #: 523
defendant correctly argues that the decision by a defendant to testify or not is personal

and the right to testify cannot be waived by defendant’s counsel on his behalf. See

Jones v. Barna, 463 U.S. 745, 751 (1983). In support of his claim, petitioner has

submitted the affidavits of his parents, as well as his own affidavit. Ajan’s mother

states that during the lunch break on either the first or second day of the three day

trial, she was told by her son’s trial counsel: “Allen wants to testify, but I will not put

him on the stand because it would not do him a bit of good and may hurt him.” Ajan’s

father states that “[d]uring the lunch break in the hallway,” he was told by his son’s

attorney: “Allen wants to testify, but I do not want to let him do that for himself, he

would only hurt himself.” Ajan’s own affidavit states that he was “barred from

testifying” by his attorney and, if allowed to do so, would have truthfully testified that

he “was being railroaded.” Both of Ajan’s parents saw Ajan and trial counsel in a

heated discussion after the government’s last witness testified. After presentation of

some evidence, however, the defendant’s attorney rested defendant’s case without

calling the defendant to the witness stand to testify.

      The defendant’s argument has been foreclosed by a recent decision of the Sixth

Circuit. In United States v. Stover, 474 F.3d 904 (6th Cir. 2007), the Sixth Circuit,

quoting United States v. Webber, 208 F.3d 545 (6th Cir. 2000), stated:

                    Although the ultimate decision whether to testify
             rests with the defendant, when a tactical decision is made
                                            27


  Case 2:02-cr-00071-JRG-CRW         Document 339        Filed 05/20/09   Page 27 of 46
                                     PageID #: 524
             not to have the defendant testify, the defendant’s assent is
             presumed. [United States v. Joelson, 7 F.3d 174, 177 (9th
             Cir. 1993) [. . . .] Barring any statements or actions from
             the defendant indicating disagreement with counsel or the
             desire to testify, the trial court is neither required to sua
             sponte address a silent defendant and inquire whether the
             defendant knowingly and intentionally waived the right to
             testify, nor insure that the defendant has waived the right on
             the record. Joelson, 7 F.3d at 177. See also United States
             v. Ortiz, 82 F.3d 1066, 1069 n.8 (D.C. Cir. 1996) (noting
             the agreement of the First, Third, Fifth, Seventh, Ninth,
             Tenth, and Eleventh circuits that the trial court does not
             have a duty to sua sponte conduct an on-the-record
             colloquy regarding waiver) . . . .

                     A defendant who wants to testify can reject defense
             counsel’s advise to the contrary by insisting on testifying,
             communicating with the trial court, or discharging counsel.
             Joelson, 7 F.3d at 177. At base, a defendant must “alert the
             trial court” that he desires to testify or if there is a
             disagreement with defense counsel regarding whether he
             should take the stand. Pelzer [v. United States, 105 F.3d
             659 (table), 1997 WL 12125, at *2 (6th Cir. Jan. 13, 1997)
             (unpublished)]. When a defendant does not alert the trial
             court of a disagreement, waiver of the right to testify may
             be inferred from the defendant’s conduct. Waiver is
             presumed from the defendant’s failure to testify or notify
             the trial court of the desire to do so. Joelson, 7 F.3d at 177.

Stover, 474 F.3d at 908-09, citing Webber, 208 F.3d at 551.

      This issue is controlled by the Sixth Circuit’s holdings in Stover and Webber.

Because Ajan did nothing to alert the trial court to his desire to testify and because the

trial court was under no duty to inquire, the district court correctly presumed that

defendant Ajan waived his right to testify. Ajan did nothing before the conclusion of

                                           28


  Case 2:02-cr-00071-JRG-CRW         Document 339      Filed 05/20/09    Page 28 of 46
                                     PageID #: 525
the trial to indicate in any way his disagreement with counsel or his desire to testify.

Under these circumstances, this issue lacks merit.

      G.     IssueVI-IAC-Blakely/Booker Claims

      Petitioner claims that his appellate counsel was deficient when he

“abandone[ed] petitioner’s claim(s) under Blakely v. Washington, 124 S. Ct. 2531

(2004) and Booker v. United States, 125 S. Ct. 738 (2005).” [Doc. 2, at 25]. More

specifically, petitioner contends that his appellate counsel failed to preserve a

meritorious Blakely/Booker issue by not raising the issue in his petition for writ of

certiorari to the United States Supreme Court. Ajan relies on Ballard v. United

States, 400 F.3d 404 (6th Cir. 2005).

      Ajan was sentenced by the district court on April 28, 2003. His appeal to the

Sixth Circuit was decided on December 15, 2004. See 116 F. App’x. at 736. On

appeal, Ajan had argued that his sentence was unconstitutional under the Supreme

Court’s decision in Blakely. The Sixth Circuit disagreed, however, because of its

decision in United States v. Koch, 383 F.3d 436 (6th Cir. 2004) (en banc) which held

that the sentencing guidelines were not invalidated by Blakely. Petitioner then, by

counsel, filed, on January 10, 2005, a petition for writ of certiorari in the United

States Supreme Court which did not explicitly raise his Blakely issue that the

mandatory sentencing guidelines were unconstitutional. The petition did, however,


                                          29


  Case 2:02-cr-00071-JRG-CRW        Document 339      Filed 05/20/09   Page 29 of 46
                                    PageID #: 526
challenge the district court’s fact finding for the purposes of sentencing Ajan as a

career offender, citing Blakely. On January 12, 2005, the Supreme Court decided

Booker and, on January 24, 2005, Ajan’s petition was denied by the Supreme Court.

Ajan v. United States, 543 U.S. 1129 (2005). On February 12, 2005, the petitioner

filed a pro se petition for rehearing of the order denying his petition for writ of

certiorari and specifically seeking a remand of his case in light of Booker. The

Supreme Court denied the pro se petition for rehearing on March 21, 2005. Ajan v.

United States, 544 U.S. 945 (2005).

       Meanwhile, Ajan’s co-defendants, Simpson and Bowers, had each petitioned

the Supreme Court for a writ of certiorari and argued that the sentencing guidelines

were unconstitutional. Simpson’s petition was granted on February 28, 2005, and his

case remanded to the Sixth Circuit for further consideration in light of Booker.

Simpson v. United States, 543 U.S. 1182 (2005). On June 13, 2005, Bowers’ petition

was likewise granted. Bowers v. United States, 544 U.S. 995 (2005). After Bowers’

and Simpson’s cases were remanded to the district court for resentencing, Bowers was

sentenced to 156 months of imprisonment and Simpson was sentenced to 432 months

of imprisonment.4         This represented a reduction from the original pre-Booker

sentences for Bowers and Simpson of 55 months and 49 months respectively.

       4
           Simpson also received an 18 month consecutive sentence on an escape conviction resulting
from his escape from custody while his appeal was pending.

                                                  30


  Case 2:02-cr-00071-JRG-CRW              Document 339         Filed 05/20/09       Page 30 of 46
                                          PageID #: 527
      In Ballard, a panel of the Sixth Circuit considered whether a defendant received

ineffective assistance of appellate counsel due to the failure of her attorney to raise

issues related to Apprendi v. New Jersey, 530 U.S. 466 (2000) and United States v.

Dale, 178 F.3d 429 (6th Cir. 1999) on direct appeal. While neither Apprendi nor Dale

had been decided at the time of Ballard’s trial, both were decided while Ballard’s case

was on direct appeal. The Sixth Circuit, while noting that it is not required that

attorneys “foresee changes in the law,” nevertheless found that, once “an important

and relevant change does come about, we do expect counsel to be aware of it.”

Ballard, 430 F.3d at 408 (citing Johnson v. United States, 520 U.S. 461, 468 (1997)).

The Sixth Circuit held, applying a plain error standard of review, that appellate

counsel prejudices a client where the attorney fails to raise a meritorious claim on

direct appeal where the error would have altered the outcome of the appeal. Id. at 409.

      The government directs the Court’s attention to the Sixth Circuit’s unreported

decision in United States v. Burgess, 142 F. App’x 232 (6th Cir. 2005). Burgess was

convicted in the district court and sentenced under the mandatory guidelines scheme

pursuant to a plea agreement which included a waiver of his right to take a direct

appeal. In an attempt to evade the appellate waiver, Burgess argued on direct appeal

that he did not enter the plea agreement knowingly, voluntarily and intelligently, and

that the district court failed to comply with the requirements of Federal Rule of


                                          31


  Case 2:02-cr-00071-JRG-CRW        Document 339     Filed 05/20/09   Page 31 of 46
                                    PageID #: 528
Criminal Procedure 11. While the direct appeal was pending, the United States

Supreme Court decided Booker. In a supplemental pro se brief, Burgess argued that

his trial counsel was constitutionally ineffective by not anticipating the Booker

decision based on the court’s previous decisions in Apprendi and Blakely.

      Although normally declining to review an ineffective assistance of counsel

claim on direct appeal, the Sixth Circuit found the normal concerns about premature

ineffective assistance claims to be absent in Burgess’ case. The Sixth Circuit said:

             Burgess’s trial counsel cannot be deemed ineffective for
             failing to anticipate the Supreme Court’s June 24, 2004
             holding in Blakely that the Sixth Amendment precluded the
             imposition of a sentence under Washington state’s
             sentencing system based on facts not found by a jury or
             admitted by the defendant. See Blakely, 124 S. Ct. at 2537-
             38 (applying Apprendi). The Supreme Court had not even
             agreed to hear the appeal in Blakely until over a month after
             Burgess’ sentencing. See Blakely v. Washington, 540 U.S.
             965, 124 S.Ct. 429, 157 L.Ed. 2d 309 (October 20, 2003).
             Nor can counsel be deemed ineffective for lacking the
             addition prescience to anticipate that the eventual holding
             in Blakely would lead to the Supreme Court’s January 12,
             2005 decision in Booker to remedy potential Sixth
             Amendment problems in the application of the Federal
             Sentencing Guidelines by declaring the guidelines advisory
             only, Booker, 125 S.Ct. at 764-67, particularly because the
             Blakely opinion makes clear that it expresses no opinion on
             the continuing validity of the federal guidelines, Blakely,
             124 S.Ct. at 2538 n.9.

Burgess, 142 F. App’x at 240. The Sixth Circuit further stated:

             In the end, the merits of Burgess’s ineffective assistance of

                                          32


  Case 2:02-cr-00071-JRG-CRW        Document 339     Filed 05/20/09    Page 32 of 46
                                    PageID #: 529
              counsel claim hinges on showing that his counsel acted
              unreasonably in failing to predict two supreme court
              decisions (Blakely and Booker) and a subsequent decision
              from this circuit (Barnett). As a matter of law there simply
              is no basis for Burgess’ assertion that his counsel’s failure
              to predict this novel line of authority “failed below an
              objective standard of reasonableness.”

Id. at 241.

      A different panel of the Sixth Circuit just this past year considered a factual

scenario more closely akin to Ajan’s than either Ballard or Burgess. In Nichols v.

United States, 501 F.3d 542 (6th Cir. 2008), reh’g en banc granted, opinion vacated

(January 3, 2008), the defendant and a co-defendant were convicted in 2002 on bank

extortion and firearm charges and Nichols was sentenced to 405 months imprisonment

under the mandatory sentencing guidelines. Nichols appealed, but challenged only

the district court’s jury instructions. Nichols’ conviction was affirmed on direct

appeal and no petition for writ of certiorari was filed. His co-defendant, however, did

petition for certiorari, arguing that his sentence was improper because of Blakely. On

January 12, 2005, the Supreme Court decided Booker and the co-defendant’s petition

for certiorari was granted and his case remanded for resentencing. The co-defendant

ultimately received a sentence nine months less than his pre-Booker sentence.

      Nichols then filed a motion to vacate his conviction and sentence pursuant to

28 U.S.C. § 2255. He argued that he received constitutionally ineffective assistance


                                           33


  Case 2:02-cr-00071-JRG-CRW         Document 339     Filed 05/20/09    Page 33 of 46
                                     PageID #: 530
of counsel because his attorney failed to argue that mandatory guidelines violated the

Sixth Amendment based on Apprendi. The panel held that “adequate counsel would

have filed a petition for writ of certiorari” to preserve the Sixth Amendment challenge

on appeal and found prejudice to Nichols in the experience of his co-defendant, who

received a sentence that was nine months less than his original sentence on remand.

Nichols, 501 F.3d at 547-48.

      Because the issue in Nichols is very similar to the issue raised by Ajan, this

Court deferred ruling on Ajan’s claim until the en banc Sixth Circuit rendered a

decision, which it did on April 29, 2009. The en banc opinion forecloses Ajan’s

argument that his appellate counsel was constitutionally ineffective in failing to

preserve the Booker issue in the petition for writ of certiorari. Judge Batchelder,

writing for an 11-5 majority of the full court, declined to address the “broader

constitutional question” of whether a criminal defense attorney is ineffective “by

failing to preserve a future-change-in-the-law argument in the hope that the Supreme

Court will strike down the existing law while that defendant’s case is still pending on

direct appeal” and found that “[b]ecause defendants are not constitutionally entitled

to the assistance of counsel in preparing petitions for certiorari,” Nichols could not

have been prejudiced by the failure of appellate counsel to file a petition for certiorari.

Nichols v. United States, 563F.3d 240 (6th Cir. 2009).


                                            34


  Case 2:02-cr-00071-JRG-CRW         Document 339       Filed 05/20/09    Page 34 of 46
                                     PageID #: 531
        The Court noted that there exists a “sharp line of demarcation” on the

continuum from sentencing to appeal, “before which a defendant has a constitutional

right to counsel and after which that same defendant does not.” Id. at 247-248.

“[W]here there is no constitutional right to counsel there can be no deprivation of

effective assistance.” Id. at 248 (quoting Coleman v. Thompson, 501 U.S. 722, 752

(1991)). Because there is no constitutional right which entitles a criminal defendant

to the assistance of counsel for the filing of a petition for certiorari, the Sixth Circuit

held, Nichols could not show that counsel’s failure to file that petition amounts to

constitutionally ineffective assistance of counsel. Id. at 249-50.

        Nichols is indistinguishable from the present case except for one immaterial

difference. In Ajan’s case, counsel filed the petition for certiorari; he simply did not

include the Sixth Amendment issue resolved by Booker. The failure to include the

Booker issue in the petition for certiorari is equivalent to not filing the petition at all

with respect to that issue. In any event, because Ajan had no constitutional right to

the assistance of counsel in the filing of his petition for certiorari, an alleged error by

counsel in the filing of that petition does not raise a constitutional claim and is thus

not cognizable under § 2255.5 Because Ajan’s only claim of prejudice “hangs on his

        5
            As noted in Nichols, Sixth Circuit Rules 101(a) and (g), which require losing appellate counsel
to petition for certiorari under certain circumstances, do not compel a different result. The Circuit’s
procedural rules do not create a constitutional right or impose a constitutional duty on counsel. Nichols,
563 F.3d at 250.

                                                    35


  Case 2:02-cr-00071-JRG-CRW                Document 339          Filed 05/20/09       Page 35 of 46
                                            PageID #: 532
inability to receive the benefit of Booker (the benefit that co-defendants [Simpson and

Bowers] did receive in the form of a post-Booker re-sentencing and a [] sentencing

reduction),” Id. at 251, he can likewise establish no prejudice because, even though

his co-defendants were successful in achieving a remand of their cases for

resentencing after Booker, that is not dispositive and “improperly turn[s] on the type

of hindsight discouraged by Strickland.” Id. at 252 fn. 8 (quoting Range v. United

States, 25 F.3d 1049 (table), 1994 WL 252643, at * 4 (6th Cir. June 9, 1994)). This

issue, therefore, lacks merit.

       H.      Motion to Supplement

       On April 23, 2009,6 more than three years after the filing of Ajan’s § 2255

petition and more than four years after the denial of his petition for certiorari by the

Supreme Court, Ajan has filed a “Motion to Supplement” his § 2255 petition. That

motion, [Doc. 336], is denied as untimely.

       The Antiterrorism and Effective Death Penalty Act of 1996 established a one-

year statute of limitations for motions to vacate, set aside or correct sentence pursuant

to 28 U.S.C. § 2255. The limitation period for the filing of a § 2255 petition by Ajan

began to run when his judgment of conviction became final on January 24, 2005, the

       6
           The envelope used to mail this motion indicates that the motion was mailed from zip code
47802 on April 21, 2009. The motion was mailed directly to the chambers of the United States District
Judge assigned to this case and the envelope indicates that the package was x-rayed by court security
personnel on April 23, 2009, the same date it was docketed by the clerk.

                                                  36


  Case 2:02-cr-00071-JRG-CRW               Document 339         Filed 05/20/09      Page 36 of 46
                                           PageID #: 533
date the United States Supreme Court denied his petition for writ of certiorari.7 The

original § 2255 motion was timely filed. The motion to supplement is untimely unless

it falls within the exception of 28 U.S.C. § 2255(f)(4) which provides that the one-

year statute of limitations begins to run on “the date on which the facts supporting the

claim or claims presented could have been discovered through the exercise of due

diligence,” or, because the attempted amendment “relates back” to the original filing.

        Ajan’s motion to supplement contains an allegation that the United States

District Judge who presided over his trial, now deceased, was suffering from

Alzheimer’s disease at the time of the trial. Ajan claims he was apprised of that “fact”

by his appellate attorney, “who professed a belief that [the trial judge] should not have

been presiding over the criminal trial due to suffering from Alzheimer’s.” [Doc. 336

at 1]. He further claims that his appellate attorney told him the issue “could not be

raised as an issue, in the petitioner’s direct appeal, because the judge was ‘too well

respected.’” Id. Ajan cannot show, therefore, that he has exercised due diligence in

the presentation of his claim and offers no explanation for his delay of more than four

years in the filing of his claim.

        Ajan’s filing, likewise, does not relate back, thereby allowing him to escape the


        7
           Ajan’s petition pursuant to § 2255 was filed on January 30, 2006; however, it appears the
petition was delivered to prison authorities for mailing on January 23, 2006. Under the “Mailbox” rule,
January 23, 2006, is considered the date of filing.

                                                   37


  Case 2:02-cr-00071-JRG-CRW               Document 339          Filed 05/20/09       Page 37 of 46
                                           PageID #: 534
one-year time limit. In 2005, the Supreme Court very significantly restricted

application of Federal Rule of Civil Procedure 15(c)(2) in the § 2255 context when

it held that a claim in an amended petition does not relate back to the original date of

filing under Rule 15(c)(2) when it asserts a new ground for relief supported by facts

that differ in both time and type from those set forth in the original proceeding. Mayle

v. Felix, 545 U.S. 644 (2005). The relation back doctrine will apply only to newly

added claims which “ar[i]se out of the conduct, transaction, or occurrence set forth or

attempted to be set forth in the original pleading,” Id. at 656, and have a common

“‘core of operative facts’ uniting the original and newly asserted claims.” Id. at 659.

      Even if Ajan’s amendment could be considered timely, it lacks any merit

whatsoever. Ajan has cobbled together a collection of hearsay, supposition and

fanciful visions of conspiracy between the Assistant United States Attorney who tried

the case, the federal and state law enforcement officers involved in the case, and the

trial judge, to support his argument. Because he did not raise the issue before the trial

court or on appeal, he has procedurally defaulted the claim, even if it were timely, and

he must show both cause and prejudice for his failure to raise the claim. The only

argument Ajan makes to potentially excuse his failure to raise the issue before the trial

court or on direct appeal is that his appointed attorney advised him that he could not

be successful on appeal because the trial judge was “too well respected.” He also


                                           38


  Case 2:02-cr-00071-JRG-CRW         Document 339      Filed 05/20/09   Page 38 of 46
                                     PageID #: 535
argues, unpersuasively, that he had no confirmation of the trial judge’s “disability”

until he heard news reports of the judge’s death on July 31, 2008, “following a lengthy

illness with Alzheimer Disease.”       These allegations do not establish cause for his

failure to raise the claim earlier.

       Ajan clearly knew of the claim while his case was still pending in the trial court

and a review of the more than 150 page motion to supplement and attached exhibits

clearly reveals that his attorney’s advice not to raise the issue on direct appeal was

sound advice and falls far short of raising a claim of constitutional magnitude. It is

also significant that Ajan does not characterize his appellate attorney’s advice as

deficient and identifies no acts or omissions of counsel “that are alleged not to have

been the result of reasonable professional judgment.” Strickland, 466 U.S. at 690.

       More fundamentally, however, Ajan cannot show any prejudice from counsel’s

performance on this issue. “An error by counsel, even if professionally unreasonable,

does not warrant setting aside the judgment of a criminal proceeding if the error had

no effect on the judgment.” Id. at 691. Even accepting all of Ajan’s allegations as

true, those allegations do not support the conclusion he draws. For instance, Ajan

points to the fact that the trial judge took “senior status” on October 1, 2002, as

evidence that he should not have presided over Ajan’s trial which began on December

17, 2002, and that since “[n]o explanation was ever offered,” the trial judge’s senior


                                           39


  Case 2:02-cr-00071-JRG-CRW          Document 339     Filed 05/20/09   Page 39 of 46
                                      PageID #: 536
status must necessarily have been related somehow to some sort of disability. No such

conclusion can be drawn. 28 U.S.C. § 371 authorizes a district court judge to take

senior status whenever the judge’s years of service and age total 80 and the judge is

at least 65 years of age. Disability is not a prerequisite to senior status. Id. In fact,

the trial judge assigned to Ajan’s case continued to handle cases filed in the

Northeastern Division of this Court until his retirement in April, 2007. Ajan further

claims, in retrospect, that the trial judge exhibited memory lapses, impaired hearing,

confusion, impatience, hostility and bias toward the defendants and made incorrect or

“irrational” evidentiary rulings during the trial–all of which he now associates with

some sort of mental disability based upon his “review[] and research[] ” of medical

literature.8

       Ajan also makes the outrageous claim that the trial judge was part of some

conspiracy with the AUSA who represented the government in the case to “fabricate

facts,” a conclusory statement he pleads absolutely no facts to support. The major

problem for Ajan is that he cannot establish that any of the alleged instances of

misconduct had any affect on the outcome of his trial. The evidence was clearly

sufficient for the jury convict, none of the alleged errors were raised on appeal, and,

in fact, this Court’s review of the transcript pages attached to Ajan’s motion reveals

       8
          He also cites the testimony of Justice Sandra Day O’Connor before a congressional committee
about symptoms associated with Alzheimer’s disease.

                                                 40


  Case 2:02-cr-00071-JRG-CRW              Document 339        Filed 05/20/09       Page 40 of 46
                                          PageID #: 537
no error in the trial judge’s rulings or behavior during the trial. Even if there were

some technical error in some of the trial judge’s rulings and actions, those errors were,

without doubt, harmless and there is no doubt that, absent the alleged errors, the result

would have been the same.

      I.     The Sole Remaining Claim/Count-Ten/Non-Existent Offense

      Count Ten of the indictment charged Ajan with a violation of Title 18 U.S.C.

§ 924(c)(1), as follows:

             The Grand Jury charges that on or about December 9, 2000,
             in the Eastern District of Tennessee, and elsewhere, the
             defendants, Allen Mark Ajan, George Hubert Simpson, and
             Vance Bowers, aided and abetted by each other, did
             knowingly and intentionally possess a firearm, during and
             in relation to a crime of violence, to wit: The kidnapping of
             Earnest White, Ricky Howe, and Curtis McDavid.

Section 924(c)(1) makes it a crime offense for “any person who, during and in

relation to any crime of violence or drug trafficking crime . . . for which the person

may be prosecuted in a court of the United States, uses or carries a firearm, or who,

in furtherance of any such crime, possesses a firearm . . . . 18 U.S.C. § 924(c)(1)(A).

      Ajan now contends that “as a consequence of ‘intervening change in law,’ in

the Circuit, that Count Ten of the second superceding Indictment must be dismissed.”

More specifically, Ajan contends that Count Ten fails to charge him with a federal

offense and that the Court, therefore, lacked subject matter jurisdiction as to Count


                                           41


  Case 2:02-cr-00071-JRG-CRW         Document 339      Filed 05/20/09   Page 41 of 46
                                     PageID #: 538
Ten in light of the Sixth Circuit’s intervening decision in United States v. Combs, 369

F. 3d 925 (6th Cir. 2004).

      In Combs, the defendant was charged and convicted of two § 924(c) violations.

One of the counts charged Combs with possession of firearms “in furtherance of a

drug trafficking crime” and the other charged that Combs possessed a firearm “during

and in relation to a drug trafficking crime.” In reversing both convictions, the Sixth

Circuit held that § 924(c) criminalizes two distinct offenses–“(1) using or carrying

a firearm during and in relation to a drug trafficking crime, and (2) possessing a

firearm in furtherance of a drug trafficking crime.” Combs, 369 F.3d at 931. Citing

Bailey v. United States, 516 U.S. 137, 143 (1995), the court noted that “use” of a

firearm connotes “more than mere possession of a firearm” and requires some active

employment of the firearm by the defendant. Id. at 932 (quoting Bailey, 516 U.S. at

143). To “carry” a firearm means “the firearm must be on the person, as when ‘a

person . . . knowingly possesses and conveys firearms in a vehicle, including in the

locked glove compartment or trunk of a car . . . .’” Id. The Sixth Circuit has

determined that, for a “carrying” offense, “the firearm need not be immediately

available for use and that the proper inquiry [in determining whether a firearm is being

‘carried’] is physical transportation of the firearm.” Id. at 933 (citing Hillard v.


                                           42


  Case 2:02-cr-00071-JRG-CRW        Document 339      Filed 05/20/09    Page 42 of 46
                                    PageID #: 539
United States, 157 F.3d 444, 449 (6th Cir. 1998)). The “during and in relation to”

element requires that the firearm “furthered the purpose or effect of the crime and its

presence or involvement was not the result of coincidence.” Id. (quoting United

States v. Warwick, 167 F.3d 965, 971 (6th Cir. 1999)).

      The indictment in this case, as in Combs, charged the defendant with possessing

a firearm, during and in relation to, a crime of violence, utilizing one element from

each of the two distinct § 924(c) offenses. This, as the Sixth Circuit found, resulted

in the defendant not being charged “with any codified federal crime.” Thus, had Ajan

or his co-defendants raised this issue on direct appeal, the claim would have resulted,

as it did in Combs, with reversal and remand for a new trial on the § 924(c) charge.

      While seeming to acknowledge that Ajan’s argument would have had merit if

it had been raised on direct appeal, the government argues that, because it was not,

however, raised on direct appeal, the claim has been procedurally defaulted. A claim

is procedurally defaulted when it is raised for the first time on collateral review and

no contemporaneous objection was made nor was the issue raised on direct appeal.

United States v. Frady, 456 U.S. 152, 167-68 (1982). Where a petitioner has

procedurally defaulted a claim by failing to raise it on direct review, the claim may be

raised in a motion under § 2255 only if the petitioner first demonstrates either cause


                                          43


  Case 2:02-cr-00071-JRG-CRW        Document 339      Filed 05/20/09   Page 43 of 46
                                    PageID #: 540
for the default and actual prejudice or that he is actually innocent. Bousley v. United

States, 523 U.S. 614, 622 (1998). The government argues, therefore, that Ajan must

show actual prejudice before he can prevail in this § 2255 proceeding, and the

government may be correct. However, Ajan on the other hand, citing United States

v. Adesida, 129 F.3d 846 (6th Cir. 1997), contends that he has not procedurally

defaulted his Combs claim, even though the argument was not raised on direct appeal.

In short, he argues that, because the indictment did not charge a cognizable federal

offense in Count Ten, the district court lacked subject matter jurisdiction to try him

for the alleged violation of the law. He argues that lack of subject matter jurisdiction

may be raised at any time, including during a proceeding under 28 U.S.C. § 2255,

citing United States v. Harper, 901 F.2d 471, 472 (5th Cir. 1990).

      Because Ajan raises a substantial issue with respect to this claim, and because

the filings of the parties do not adequately address the many issues which are raised

in relation to this claim, and, in the interest of justice, the Court will appoint counsel

to represent Ajan as to this claim only. Therefore, it is hereby ORDERED that Jerry

Laughlin, Esquire, is appointed to represent the petitioner in this pro se motion to

vacate, set aside or correct his sentence pursuant to 28 U.S.C. § 2255 with respect to

the issue he has raised pursuant to United States v. Combs. Counsel will have sixty


                                           44


  Case 2:02-cr-00071-JRG-CRW         Document 339      Filed 05/20/09    Page 44 of 46
                                     PageID #: 541
(60) days from the date hereof to contact the movant and to file a brief in support of

the movant’s position with respect to his Combs claim. The petitioner’s present

address is as follows:

                           Allen Mark Ajan
                           # 20109-074
                           United States Penitentiary
                           P. O. Box 33
                           Terra Haute, IN 47808
                           (812) 244 - 4400

Likewise, the government may file a supplemental brief within sixty days of the entry

of this order. Although the Court has found that Ajan’s § 2255 petition should be

dismissed as to all claims except the claim raised pursuant to United States v. Combs,

on which the Court will reserve decision pending receipt of additional briefing from

the parties, the Court will not enter judgment at this time nor address whether a

certificate of appealability should be issued to the petitioner.

      V.     Conclusion

      For the reasons set forth herein, the petitioner’s § 2255 motion lacks merit as

to all issues except for the issue raised pursuant to United States v. Combs, on which

the Court will receive further briefing and will reserve decision, and the petitioner’s

petition will be dismissed as to those claims. Once the issue raised by the petitioner

pursuant to United States v. Combs is decided by this Court, the Court will then enter

                                           45


  Case 2:02-cr-00071-JRG-CRW        Document 339      Filed 05/20/09   Page 45 of 46
                                    PageID #: 542
an appropriate judgment and will address whether petitioner should be granted a

certificate of appealability on any issues in this case.

      So ordered.

      ENTER:

                                                      s/J. RONNIE GREER
                                                 UNITED STATES DISTRICT JUDGE




                                           46


  Case 2:02-cr-00071-JRG-CRW         Document 339      Filed 05/20/09   Page 46 of 46
                                     PageID #: 543
